               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                2:14 CR 06-2


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )            ORDER
                                             )
EVARD LAMAR BRADLEY,                         )
                                             )
                 Defendant.                  )
____________________________________         )


       THIS CAUSE came on to be heard before the undersigned upon a Violation

Report (#27) filed on August 13, 2014 in the above entitled cause by the United

States Probation Office. In the Violation Report, the United States Probation

Office alleges that Defendant had violated terms and conditions of his pretrial

release. At the call of this matter on for hearing it appeared Defendant was present

with his counsel, Andrew Banzhoff, and the Government was present through

Assistant United States Attorney, Tom Ascik, and from the evidence offered and

from the statements of the Assistant United States Attorney and the attorney for

Defendant, and the records in this cause, the Court makes the following findings.

       Findings:   At the call of the matter, the Defendant, by and through his

attorney, denied the allegation contained in the Violation Report. Testimony was

presented by the Government through Mark D. Corbin, United States Probation


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Officer.

      The Defendant was charged in a bill of indictment filed on June 3, 2014 with

the following offenses:

      Count One: attempt to commit murder, in violation of 18 U.S.C. § 1111,

1113, and 1153;

      Counts Two, Three, Four, Five and Seven: assaulting another person with a

dangerous weapon, in violation of 18 U.S.C. § 113(a)(3); and

      Count Six: assaulting another person resulting in serious bodily injury, in

violation of 18 U.S.C. § 113(a)(6) and 1153.

      A hearing was held in regard to the detention of Defendant on June 12,

2014. On that date, the undersigned entered an Order releasing Defendant on a

$25,000 unsecured bond. The undersigned further set conditions of release which

included the following:

      (1)    The defendant must not violate any federal, state or local law while on

release;

      (8)(p) refrain from use or unlawful possession of a narcotic drug or other

controlled substances defined in 21 U.S.C. §802, unless prescribed by a licensed

medical practitioner.

      On August 5, 2014, Defendant submitted to a drug screen which resulted in


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positive test showing that Defendant had used or consumed methamphetamine.

       Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial

officer -----

       (1)    finds that there is----
              (A) probable cause to believe that the person has committed a
       Federal, State, or local crime while on release; or
              (B) clear and convincing evidence that the person has violated any
        other condition of release; and
       (2) finds that ---
              (A) based on the factors set forth in section 3142(g) of this title, there
       is no condition or combination of conditions of release that will assure that
       the person will not flee or pose a danger to the safety of any other person or
       the community; or
              (B) the person is unlikely to abide by any condition or combination
       of conditions of release.

      If there is probable cause to believe that, while on release, the person
committed a Federal, State, or local felony, a rebuttable presumption arises that no
condition or combination of conditions will assure that the person will not pose a
danger to the safety of any other person or the community.

       Based upon the evidence, the undersigned finds that it has been shown by

clear and convincing evidence that Defendant violated the condition of release that

required Defendant to refrain from use or unlawful possession of a narcotic drug or

other controlled substance unless prescribed by a licensed medical practitioner.

The test performed upon Defendant shows that the Defendant had consumed

methamphetamine.       Methamphetamine is narcotic that is not prescribed by a


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licensed medical practitioner.

      Due to the findings made above and considering the factors as set forth

under 18 U.S.C. § 3142(g), it appears there is no condition or combination of

conditions of release that will assure that Defendant will not pose a danger to the

safety of any other person or the community. It is the opinion of the undersigned

that based upon Defendant’s actions it is unlikely that Defendant will abide by any

condition or combination of conditions of release.

      As a result of the above referenced findings, the undersigned has determined

to enter an order of revocation revoking the unsecured bond and the terms of

prehearing release previously issued in this matter and entering an order detaining

Defendant.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond and terms and

conditions of pretrial release entered in this matter are hereby REVOKED and it is

ORDERED that Defendant be detained pending further proceedings in this matter.



                                      Signed: August 22, 2014




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